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                    EXHIBIT 169
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 1           IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF TEXAS
 2                     SHERMAN DIVISION
 3      THE STATE OF TEXAS, et    )
        al.,                      )
 4                                ) Case No.
                    Plaintiffs,   ) 4:20-cv-00957-SDJ
 5                                )
        vs.                       ) Hon. Sean D. Jordan
 6                                )
        GOOGLE LLC,               )
 7                                )
                    Defendant.    )
 8
                          FRIDAY, MAY 24, 2024
 9
         HIGHLY CONFIDENTIAL - PURSUANT TO PROTECTIVE
10                          ORDER
                             – – –
11
12                 Videotaped deposition of Neal
13       Mohan, in his personal capacity and 30(b)(6)
14       designee of Google LLC, held at the offices
15       of Freshfields Bruckhaus Deringer, 855 Main
16       Street, Redwood City, California, commencing
17       at 9:35 a.m. Pacific Time, on the above date,
18       before Carrie A. Campbell, Registered
19       Diplomate Reporter, Certified Realtime
20       Reporter, Illinois, California & Texas
21       Certified Shorthand Reporter, Missouri,
22       Kansas, Louisiana & New Jersey Certified
23       Court Reporter.
24                           – – –
25       Job No. MDLG6687875

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11                          Now, cookies, again, is that
12       all-important technology.
13                          All right?         Right?
14                          MS. SESSIONS:           Object to the
15                  form.
16                          THE WITNESS:           Are you asking do
17                  I see that sentence?
18       QUESTIONS BY MR. LANIER:
19                  Q.      Yeah.
20                          That -- with this cookies,
21       that's reference to what you and I were
22       talking about earlier as a type of technology
23       important to the Internet?
24                  A.      It is a type of technology
25       important to the Internet, yes.

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 1                  Q.      It stores information of
 2       websites visited or what?
 3                  A.      It stores information that
 4       websites need -- use to operate.                   So, for
 5       example, if you go to a banking website and
 6       you type in your -- you know, your username,
 7       to make sure that you can actually then
 8       transact on that website, sometimes cookie
 9       technology is used by websites.
10                          So it has a number of different
11       purposes that really lead to the functioning
12       of the Internet.          It's like kind of a
13       technology that -- that's used across the
14       web.
15                  Q.      But some cookies will show
16       where you've gone.            They track people and how
17       people behave on the web.
18                          Right?
19                  A.      They don't track people.                They
20       track -- a cookie is like an anonymous ID.
21       It's not tied to a person.
22                  Q.      Tied to a computer, to an IP
23       address?
24                  A.      No, not necessarily --
25                  Q.      It can be.

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 1                  A.      -- tied to an IP address.
 2                          It could be, but it's not tied
 3       to -- not necessarily.
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 1                          THE WITNESS:            Again, I'm not
 2                  sure it's tied to a device.
 3       QUESTIONS BY MR. LANIER:
 4    {CONFIDENTIAL INFORMATION REDACTED}
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17       QUESTIONS BY MR. LANIER:
18                  Q.      But the point is, is you're
19       able to use cookie IDs to follow.                    If I -- if
20       I go look at a website for new cars, what are
21       the -- I google:           What are the great new cars
22       that are out in 2025?              And I get a website,
23       and I go to the website.
24                          A copy of that is kept.                The
25       note is kept that this computer has just gone

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